        Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 1 of 14



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS               )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        ) Civil Action 1:17-cv-2187-TSC
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )

       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
    PLAINTIFF’S RENEWED APPLICATION FOR TEMPORARY RESTRAINING
           ORDER AND MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff renews its request for a Temporary Restraining Order preventing Defendant

Bank from producing records of all of Plaintiff’s transactions with any law firm, “media

company” or journalist with which it has worked. None of those demands are pertinent to the

Committee’s “Russia investigation,” and disclosure of the documents would cause irreparable

harm to Plaintiff by destroying the confidentiality of its business with its clients and contractors

and by violating Plaintiff’s First Amendment rights to free speech and free association. The

nature of the records demanded and the purported “justifications” demonstrate that the subpoena

at issue is overbroad because it is not limited to records pertinent to a legislative purpose, and the

effort to enforce it has no purpose other than to harm Plaintiff.




                                                  1
          Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 2 of 14



    I.       PLAINTIFF’S OBJECTIONS TO INTERVENOR’S REQUESTED BANK
             RECORDS

          Pursuant to the terms of the Agreement embodied in the Court’s Order of October 27,

2017 (the “Order”), Intervenor, on November 1, 2017, demanded that Defendant Bank produce

112 of the nearly 400 records in Defendant Bank’s possession. The list of documents prepared

and demanded by Intervenor is attached hereto as Exhibit A (filed under seal). It provided what

it considered a justification for the documents demanded, a copy of which is attached hereto as

Exhibit B (filed under seal). On the same day, Plaintiff presented Intervenor with objections to

these demands, attached hereto as Exhibit C (filed under seal). On November 2, 2017, counsel

for Plaintiff and Intervenor held a phone call at Plaintiff’s counsel’s request in which Plaintiff’s

counsel urged Intervenor to narrow or withdraw the documents it demanded. Counsel for

Intervenor replied that it was “not in a position to accept [Plaintiff’s] suggestion that it withdraw

its request for these specified transactions, which are necessary for its investigation.” See

Exhibit C.

          As provided in the October 27, 2017, Order, Plaintiff now must renew its request for a

temporary and permanent order preventing Defendant Bank from producing the documents

itemized in Exhibit A, with certain exceptions.1 In its order of dismissal, the Court retained

jurisdiction to grant this relief.


    II.      PLAINTIFF MEETS THE                     STANDARD        FOR      A     TEMPORARY
             RESTRAINING ORDER

             A. Legal Standard

          In our original motion papers, we briefed the legal requirements for a Temporary

Restraining Order, see Mem. of Points & Authorities in Supp. of Pl.’s Unopposed Emergency

1
  Plaintiff has authorized Defendant Bank to produce Request Nos. 54-64 & 82, in redacted
format to protect non-pertinent private data.


                                                 2
        Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 3 of 14



Mot. for a Temp. Restraining Order and Prelim. Inj. (Dkt. No. 2-1) at 4-8, and we incorporate

those arguments here.2 “The purpose of a preliminary injunction is merely to preserve the

relative positions of the parties until a trial on the merits can be held.” Univ. of Tex. v.

Camenisch, 451 U.S. 390, 395 (1981). To receive a temporary restraining order (TRO), the

moving party must show that four factors warrant relief: “(1) a substantial likelihood of success

on the merits, (2) that it would suffer irreparable injury if the injunction were not granted, (3)

that an injunction would not substantially injure other interested parties, and (4) that the public

interest would be furthered by the injunction.” Chaplaincy of Full Gospel Churches v. England,

454 F.3d 290, 297 (D.C. Cir. 2006). “The four factors have typically been evaluated on a ‘sliding

scale,’” and where “the movant makes an unusually strong showing on one of the factors, then it

does not necessarily have to make as strong a showing on another factor.” McGinn, Smith & Co.

v. Fin. Indus. Regulatory Auth., 786 F. Supp. 2d 139, 144 (D.D.C. 2011) (quoting Davis v.

Pension Benefit Guar. Corp., 571 F.3d 1288, 1291-92 (D.C. Cir. 2009)). In this case, all four

factors weigh in favor of a temporary restraining order prohibiting Defendant Bank from

complying with demands for non-pertinent records, the disclosure of which would violate

Plaintiff’s First Amendment rights and confidentiality obligations, and irreparably harm Plaintiff,

without prejudice to Intervenor.

       As the Court will no doubt see when it reviews the long list of records demanded and

their purported justifications, the harm that will flow from their production is irreparable, and the




2
  Plaintiff also incorporates all of its points and authorities in its previously submitted briefs. See
Mem. of Points & Authorities in Supp. of Pl.’s Unopposed Emergency Mot. for a Temp.
Restraining Order and Prelim. Inj. (Dkt. No. 2-1); Pl.’s Reply in Support of its Emergency Mot.
for a Temp. Restraining Order and Prelim. Inj. (Dkt. No. 13).



                                                  3
           Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 4 of 14



legal principles that govern this question are so clear that there is no room for serious debate over

the merits of Plaintiff’s claim.

       With the exception of those documents that we have authorized Defendant Bank to

produce, none of the other documents requested bear any nexus to the Committee’s “Russia

investigation,” and the purported “justifications” for the requests could not be clearer on that

point. None of the “justifications” explains why the records are pertinent to any question under

inquiry.

             B. Plaintiff Will Succeed on the Merits of this Case.

                1. This Court Has Full Authority to Prohibit Disclosure of the Demanded
                   Records.

       The Federal Courts have clear authority to review, restrict, condition or enjoin

congressional subpoenas which are so overbroad as to call for documents not pertinent to an

articulated legislative purpose and which invade First Amendment and privacy rights. See

United States v. Amer. Telephone & Telegraph Co., 567 F.2d 121, 129-30 (D.C. Cir. 1977)

(hereinafter “AT&T II”); Watkins v. United States, 354 U.S. 178, 187-88 (1957).

       Intervenor has from time to time suggested that this Court has no power to grant relief. It

does not argue, as it could not, that Eastland v United States Servicemen’s Fund, 421 U.S. 491

(1975) affects this Court’s jurisdiction or authority to review the Committee’s improperly

overbroad congressional subpoena. In Eastland, a non-profit sued a Senator and his staff to

enjoin enforcement of the subpoena they served on the non-profit’s bank, and the Court held that

the Senator and his staff were immune from suit because the Speech or Debate Clause of the

Constitution precluded them from being “questioned in any other place” – e.g., the Federal

Courts. See Eastland, 421 U.S. at 509. Here Plaintiff is not suing the Committee, its Chair or its

staff. The Committee has chosen to be here, has not taken the position that it is a necessary



                                                 4
        Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 5 of 14



party, and has not claimed – and cannot claim – that relief should not be granted under a theory

that Intervenor is immune from suit under the Speech or Debate Clause.

        Our Court of Appeals, as well as other courts, have made it clear that “Congress’

investigatory power is not, itself, absolute” and is not immune from judicial review. AT&T II,

567 F.2d at 129.

       Indeed, this lawsuit is precisely the vehicle envisioned by Justice Marshall, in his

Eastland concurrence, when he wrote “to emphasize that the Speech or Debate Clause does not

entirely immunize a congressional subpoena from challenge by a party not in a position to assert

[its] constitutional rights by refusing to comply with it.” Id. at 513 (Marshall, J., concurring).

Justice Marshall stated: “When duly subpoenaed … a person does not shed his constitutional

right to withhold certain classes of information,” id. at 515 (Marshall, J., concurring); see id. at

517 (Marshall, J., concurring) (stating that “[t]his case does not present the questions of what

would be the proper procedure, and who might be the proper parties defendant, in an effort to get

before a court a constitutional challenge to a subpoena duces tecum issued to a third party”).

       As Plaintiff has done here, the plaintiff in AT&T II, 567 F.2d at 122, sued a private party

to enjoin it from complying with a congressional subpoena, and the district court entered a

temporary restraining order, after which the district court granted summary judgment in favor of

the plaintiff and entered a preliminary injunction. See id. at 123. On appeal, the court of

appeals, like this Court, did not enforce the congressional subpoena, but rather encouraged the

parties to resolve the matter on their own. See id. However, the case came back to the court of

appeals, which sustained the injunction on AT&T’s compliance with the congressional

subpoena. See id. at 133.




                                                 5
        Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 6 of 14



       In reaching this decision, the AT&T II court explained why judicial review of

congressional subpoena was permitted, notwithstanding the Speech or Debate Clause, when the

plaintiff was suing AT&T (not a member of Congress) to enjoin the phone company’s

compliance with the congressional subpoena:

       As is clear from Watkins, Barenblatt, and Senate Select Committee, however, the
       Clause does not and was not intended to immunize congressional investigatory
       actions from judicial review. Congress’ investigatory power is not, itself,
       absolute. Barenblatt v. United States, 360 U.S. 109, 111-12, 79 S.Ct. 1081, 3
       L.Ed.2d 1115 (1959). And the fortuity that documents sought by a congressional
       subpoena are not in the hands of a party claiming injury from the subpoena should
       not immunize that subpoena from challenge by that party. See Justice Marshall’s
       concurring opinion in Eastland, 421 U.S. at 513, 95 S.Ct. at 1826.

AT&T II, 567 F.2d at 129. The AT&T II court elaborated, stating that the plaintiff was not in a

position to challenge the congressional subpoena in a contempt proceeding because the subpoena

was not served on the plaintiff, and plaintiff could not be held in contempt for not complying

with it. See id. The court stated that such a dynamic should not foreclose plaintiff’s right to

challenge the congressional subpoena, “so long as members of the Subcommittee are not,

themselves, made defendants in a suit to enjoin implementation of the subpoena.” Id. (citing

Eastland, 421 U.S. at 513 (Marshall, J., concurring)). The court’s rationale for the foregoing

specific point, contrary to Intervenor’s assertions in its prior papers, had nothing to do with the

fact that the plaintiff was the Executive Branch. What mattered to the court was the fact that the

phone company (not Congress, its committee, its members or its staff) was being sued. See id.

(“The approach by which the [plaintiff] here achieves judicial consideration of its challenge is

not properly subject to reproach as exalting form over substance. The role of the court often

turns on matters of procedure.”). In the AT&T II court’s own words:

       In sum, while this case is similar in several respects to the situation in Eastland, as
       earlier noted (551 F.2d at 391), for purposes of considering whether the
       Executive’s claim is entitled to at least some judicial consideration, we emphasize



                                                 6
        Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 7 of 14



        that no member of the Subcommittee in the present dispute has been made a
        defendant in a judicial proceeding. The courts do not accept the concept that
        Congress’ investigatory power is absolute. What the cases establish is that the
        immunity from judicial inquiry afforded by the Speech or Debate Clause is
        personal to members of Congress. Where they are not harassed by personal suit
        against them, the clause cannot be invoked to immunize the congressional
        subpoena from judicial scrutiny.

Id. at 130.

        Further, the Supreme Court’s earlier decision in Watkins, 354 U.S. at 187, made clear that

federal courts must enforce the limitations on the legal authority of Congress to probe:

        There is no general authority to expose the private affairs of individuals without
        justification in terms of the functions of the Congress…. Nor is the Congress a
        law enforcement or trial agency. These are functions of the executive and judicial
        departments of government. No inquiry is an end in itself; it must be related to,
        and in furtherance of, a legitimate task of the Congress. Investigations conducted
        solely for the personal aggrandizement of the investigators or to ‘punish’ those
        investigated are indefensible.

Indeed, one of the reasons why the AT&T I court encouraged settlement, rather than invalidate

the congressional subpoena, was the absence of “any allegation that Congress is seeking to

‘expose for the sake of exposure.’” United States v. Amer. Telephone & Telegraph Co., 551 F.2d

384, 393 (D.C.Cir. 1977) (hereinafter “AT&T I”) (citing Watkins, 354 U.S. at 200). Here,

however, in the blatant absence of any pertinency, Intervenor’s demands are transparently

designed solely to expose Plaintiff’s clients and contractors simply to punish Plaintiff and

destroy its business relationships through the disclosure of them.

        The House Permanent Subcommittee on Intelligence is not a grand jury or a law

enforcement agency. It cannot demand private records just because it would like to see them. Its

power of inquiry is limited to records “pertinent” to its investigation. See Watkins, 354 U.S. at

214–215. Intervenor makes no concession to this principle and makes no effort to limit the

subpoena to its appropriate bounds. It insists that Defendant Bank produce over 100 bank




                                                 7
        Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 8 of 14



records, even though it cannot identify a single one not already produced that is pertinent to the

investigation or any legitimate reason why any of them would be.


               2. The Subpoena Is Overbroad Because It Seeks to Compel Production of
                  Records Not Pertinent to A Legitimate Legislative Inquiry.

       Intervenor appears to have abandoned its purported need to review Plaintiff’s bank

records on the basis of “classified information,” in favor of new excuses, none of which meets

any required standard. It no longer even refers to the single page press release which it earlier

described as defining the scope or “parameters” of its inquiry. That press release identified four

questions the Committee was seeking to answer:


       What Russian cyber activity and other active measures were directed against the
       United States and its allies?

       Did the Russian active measures include links between Russia and individuals
       associated with political campaigns or any other U.S. Persons?

       What was the government’s response to these Russian active measures and what
       do we need to do to protect ourselves and our allies in the future?

       What possible leaks of classified information took place related to the Intelligence
       Community Assessment of these matters?3

       There is no conceivable relevance to these questions that can be advanced to justify

prowling through Plaintiff’s banking transactions with clients and vendors who have nothing to

do with the dossier or with Russia. Intervenor’s current demands consist of the following

categorical requests, each of which fails to demand pertinent information and implicates

Plaintiff’s First Amendment rights and confidentiality obligations. The purported explanation

for why these items are “necessary” fail to establish pertinency, particularly in light of Plaintiff’s



3
  Press Release, Intelligence Committee Chairman, Ranking Member Establish Parameters for Russia
Investigation, Mar. 1, 2017, available at	
https://intelligence.house.gov/news/documentsingle.aspx?DocumentID=767.	


                                                  8
        Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 9 of 14



exposure of these requests as having no connection to Russia or Mr. Trump. See generally Decl.

of P. Fritsch, attached hereto at Exhibit D (filed under seal). To wit:


       1. Law Firms: Intervenor demands bank records related to transactions with 10 law

           firms under the false and offensive premise that “Fusion GPS has established a

           pattern and practice of using law firms as intermediaries to mask the true

           beneficiaries of its research.” Exhibit B. It does not, of course, provide any factual

           basis for the insult. Law firms, on behalf of their clients, contract with third parties

           on a confidential basis, during ongoing litigation and in situations in which litigation

           is reasonably foreseeable. See Decl. of John Doe, Ex. 5 (Dkt. No. 13-3) to Pl.’s

           Reply Br., at ¶¶ 6-7; Decl. of John Doe, Ex. 6 (Dkt. No. 13-4), to Pl.’s Reply Br. at ¶¶

           4, 6-7. Such work occurs every day, all over the country. None of the law firms about

           which Intervenor seeks information (other than Perkins Coie and Baker Hostetler)

           contracted with Fusion GPS to perform work related to Russia or Donald Trump, in

           any way. See Decl. of P. Fritsch at ¶ 4, attached hereto at Exhibit D. The demands

           for records related to these other law firms are not pertinent to Intervenor’s

           investigation and, most importantly, the records are protected by the First

           Amendment and confidentiality. See id. at ¶3. This demand is clearly a recently

           contrived effort to find some justification to take the bank records and use them to

           further harass and punish Fusion and its clients.


       2. Media Company A:            Intervenor demands bank records related to “media

           companies…to determine whether such companies were the beneficiary of dossier or

           other Russia related information.” Exhibit B. Again, there is no effort to connect this

           curiosity to a legislative purpose or fact. It is contrived to substitute for the ridiculous


                                                  9
Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 10 of 14



   notion that Intervenor can demand documents in an overbroad subpoena from a third

   party and not explain what it is looking for or why. This company received no

   payment related to Russia or Donald Trump. See Decl. of P. Fritsch, Exhibit D, at

   ¶ 5. The demand for records related to this company are not pertinent. The records

   are protected by the First Amendment and confidentiality. See id. at ¶ 3.


3. Journalists: Intervenor demands bank records related to payments to any “journalists

   who have reported on Russia issues relevant to its investigation” and “individuals on

   (sic) have contributed to press stories on Russia issues relevant to its

   investigation.” Exhibit B.     The requested records related to payments to the

   journalists and “individuals” are protected by the First Amendment and

   confidentiality, and they are not pertinent, as they are not related to Russia or Donald

   Trump. See Decl. of P. Fritsch, Exhibit D, at ¶¶ 3&6. In attempting to justify the

   overbroad subpoena earlier, Intervenor could have, but of course did not, argue the

   relevance to its inquiry of any such payments.


4. [Business A]: Intervenor demands bank records related to Business A because it “has

   long represented [a holding company]” and is a “registered agent of the foreign

   government of” a particular country. Exhibit B. Intervenor could have requested any

   bank records related to payments to entities on behalf of the foregoing holding

   company or the foregoing particular country, but it did not. Nor does this request

   have anything to do with classified information. Business A retained Fusion GPS for

   services that were unrelated to the foregoing holding company, the foregoing

   particular country, Russia or Donald Trump. See Decl. of P. Fritsch, Exhibit D, at




                                       10
Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 11 of 14



   ¶ 7. The request for bank records related to Business A is not pertinent. The records

   are protected by the First Amendment and confidentiality. See id. at ¶ 3.


5. [Business B]: Intervenor demands bank records related to Business B because of its

   representation of “[a company], who (sic) is suing the U.S. government over a fine

   imposed for ‘reckless disregard’ of U.S. sanctions on Russia related to a joint venture

   with [another company].” Exhibit B. This justification is similarly contrived to

   create some argument other than classified information. Business B retained Fusion

   GPS for a matter that had nothing to do with the foregoing companies, Russia or

   Donald Trump. See Decl. of P. Fritsch, Exhibit D, at ¶ 8.          The request is not

   pertinent. The records are protected by the First Amendment and confidentiality. See

   id. at ¶ 3.


6. “Re-production” of Records: Intervenor demands the “re-production” of records

   from two clients and several contractors, as well as the unproduced records of any

   and all additional transactions with them. Plaintiff objects to the production of these

   records as follows: First, records of the additional transactions were not produced

   because the work related to them pertained to separate matters and has no nexus to

   Russia or Mr. Trump, see Decl. of P. Fritsch, Exhibit D, at ¶ 9; the requests are

   therefore not pertinent to the investigation. Second, the “re-production” of records is

   redundant of what has been produced. Inasmuch as Intervenor demands the redacted

   metadata pertaining to those previously produced records, Intervenor has no right to

   the metadata because it is not pertinent to the “Russia investigation.” That metadata

   includes Plaintiff’s bank account number (which Intervenor already has, from the face

   of the subpoena); the other party’s bank account numbers; the name of the banks


                                       11
       Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 12 of 14



           making the payment and receiving the payment; and the addresses of those banks,

           among other sensitive, and not pertinent, data. That information does not further any

           legitimate legislative purpose and is exceedingly private.


       For the reasons set forth in Plaintiff’s earlier filed papers, compliance with these demands

would cause Plaintiff irreparable harm and impair the public interest, and an injunction would

not prejudice Intervenor or its investigation, which would not benefit at all from the demanded

records.

       Over Intervenor’s objections, Plaintiff has proposed, in the alternative, that the Court

appoint a Special Master under Federal Rule of Civil Procedure 53 or some other third-party

neutral to take custody of the records, consult with the parties together and separately, and make

determinations as to whether any of the remaining records are pertinent. Short of the Court

taking on this task itself, a Special Master is the only other remaining course that would prevent

unwarranted intrusion into Plaintiff’s private affairs and violation of its First Amendment rights.

Intervenor previously declined to agree on the ground that it could not share classified

information with the Special Master or other neutral. It is now clear that Intervenor’s requests

have nothing to do with classified information.

       Under the circumstances, the Court should grant the order requested. It could condition

the order on compliance with authority granted to a Special Master.


                                        CONCLUSION

       For these reasons, this Court should grant Plaintiff’s motion for a temporary restraining

order and preliminary injunction and order that Defendant Bank not to comply with the

subpoena, going forward until this lawsuit is resolved.




                                                  12
Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 13 of 14



Dated: November 3, 2017      Respectfully Submitted,

                             _/s/ William W. Taylor III______________
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                               13
       Case 1:17-cv-02187-RJL Document 23-1 Filed 11/03/17 Page 14 of 14



                                 CERTIFICATE OF SERVICE


       I certify that on November 3, 2017, I filed the foregoing on the court’s CM/ECF system,

which caused it to be served on all registered parties.

                                                      __/s/ Rachel M. Clattenburg
                                                         Rachel M. Clattenburg




                                                 14
